                 4:20-cv-03280-TMC                Date Filed 06/07/21          Entry Number 19           Page 1 of 2

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                          Terry Rud                                    )
                            Plaintiff                                  )
                        v.                                             )      Civil Action No.      4:20-cv-3280-TMC
 Commissioner of the Social Security Administration                    )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: The Commissioner’s decision is reversed pursuant to sentence four of 42 U.S.C. § 405(g), and
remanded to the Commissioner for further administrative proceedings.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Timothy M. Cain, United States District Judge, who granted Defendant’s Motion
to Remand..

                                                                              ROBIN L. BLUME
Date:        June 7, 2021                                                    CLERK OF COURT


                                                                             s/ Glenda J. Nance
                                                                                         Signature of Clerk or Deputy Clerk
4:20-cv-03280-TMC   Date Filed 06/07/21   Entry Number 19   Page 2 of 2
